        Case 1:25-cv-00766-JEB            Document 21         Filed 03/17/25       Page 1 of 7




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


J.G.G., et al.,

Plaintiffs–Petitioners

                           v.                                    Case No: 1:25-cv-00766

DONALD J. TRUMP, in his official capacity as
President of the United States, et al.,

Defendants–Respondents




                  PLAINTIFFS’ RESPONSE TO DEFENDANTS’ NOTICE

        On March 16, 2025, Defendants submitted a Notice explaining why they believed their

actions implementing the Proclamation were consistent with this Court’s Temporary Restraining

Orders. However, in addition to the numerous media reports and publicly available data suggesting

that Defendants may have violated the Court’s Orders, the government’s own Notice raises serious

questions. Plaintiffs therefore respectfully request that the Court seek immediate clarification from

Defendants, in one or more sworn declarations, about their conduct regarding this Court’s Orders.

        First, the government’s letter states that the Court’s Order was issued at 7:26 pm on

Saturday March 15. But that was the time the Court’s written Order appeared on PACER. During

the Saturday hearing, between approximately 6:45 pm ET and 6:48 pm ET, this Court orally and

unambiguously directed the government to turn around any planes carrying individuals being

removed pursuant to the AEA Proclamation:

        [T]hat you shall inform your clients of this immediately, and that any plane containing

         these folks that is going to take off or is in the air needs to be returned to the United States,
        Case 1:25-cv-00766-JEB           Document 21          Filed 03/17/25    Page 2 of 7




        but those people need to be returned to the United States. However that's accomplished,

        whether turning around a plane or not embarking anyone on the plane or those people

        covered by this on the plane, I leave to you. But this is something that you need to make

        sure is complied with immediately. Tr. 43.

That oral Order of course carries no less weight than the Court’s written Order.

       Second, Plaintiffs remain extremely concerned that, regardless of which time is used, the

government may have violated the Court’s command. The government states that “some gang

members subject to removal under the Proclamation had already been removed from United

States territory under the Proclamation before the issuance of this Court’s second order.

(emphasis added). 1 That phrasing strongly suggests that the government has chosen to treat this

Court’s Order as applying only to individuals still on U.S. soil or on flights that had yet to clear

U.S. airspace as of 7:26pm (the time of the written Order). If that is how the government

proceeded, it was a blatant violation of the Court’s Order.

       Whether or not the planes had cleared U.S. territory, the U.S. retained custody at least

until the planes landed and the individuals were turned over to foreign governments. And the

Court could not have been clearer that it was concerned with losing jurisdiction and authority to

order the individuals returned if they were handed over to foreign governments, not with whether

the planes had cleared U.S. territory or had even landed in another country.

          THE COURT: Okay. But then I would assume that means that they [the five named

          Plaintiffs] are either not on the planes or that they will not be removed from the planes



1
 The government refers to the “second” order to distinguish it from the TRO order issued the
morning of March 15 as to just the named Plaintiffs.
         Case 1:25-cv-00766-JEB            Document 21         Filed 03/17/25       Page 3 of 7




            and will be brought back once the planes land in El Salvador. Is that fair? Tr. 5

            (emphasis added).

             THE COURT: Again, just so we are clear, if planes have already landed and discharged

             their occupants, aside from the five plaintiffs I enjoined earlier, then this order -- I don't

             have jurisdiction to require their return. (Tr. 44, discussing class TRO) (emphasis

             added).

And based on publicly available information, it appears that there were at least two flights that

took off during the hearing but landed even after this Court’s written Order, meaning that

Defendants could have turned the plane around without handing over individuals subject to the

Proclamation and this Court’s TRO. Moreover, although that information was obviously in

Defendants’ possession, Plaintiffs nonetheless emailed counsel for the government with the

information about these two flights immediately after the hearing concluded.

      1. GlobalX Flight 6143 departed Harlingen, Texas at 5:26 p.m. EDT and landed in

         Comayagua, Honduras at 7:36 p.m. EDT. 2

      2. GlobalX Flight 6145 departed Harlingen, Texas at 5:45 p.m. EDT and landed in San

         Salvador, El Salvador at 8:02 p.m. EDT. 3

         Third, even if only the written Order is relevant, and even if the Court had only meant to

order Defendants to turn the planes around if they were still in U.S. territory (neither of which is

plausible), Plaintiffs still have serious concerns about the government’s actions. According to at

least one media report, one of the planes departed the U.S. after the written Order was issued.


2
    https://www.flightaware.com/live/flight/GXA6143
3
    https://www.flightaware.com/live/flight/GXA6145/history/20250315/1930Z/KHRL/MSLP
         Case 1:25-cv-00766-JEB          Document 21        Filed 03/17/25      Page 4 of 7




See Marianne LeVine, et al., “White House Official Says 137 Immigrants Deported Under Alien

Enemies Act,” Wash. Post (Mar. 16, 2024),

https://www.washingtonpost.com/immigration/2025/03/16/alien-enemies-act-venezuela-el-

salvador-prison/. That account is consistent with the publicly available flight data indicating that

GlobalX Flight 6122 departed Harlingen, Texas at 7:37 p.m. EDT and landed in Comayagua,

Honduras at 9:46 p.m. EDT. Plaintiffs also informed Defendants about this flight immediately

after the hearing. 4

         Beyond the concerns raised by the government’s own letter, there has been significant

media reporting that Defendants may have defied the Court’s Order. Axios, for instance,

reported that White House Deputy Chief of Staff Stephen Miller and Department of Homeland

Security Secretary Kristi Noem chose not to turn the planes around. 5 Officials claimed that they

could ignore this Court’s order because the planes were already over international waters.

         The Axios article was later updated with a statement from White House Press Secretary

Karoline Leavitt, which said: “The Administration did not 'refuse to comply' with a court order.

The order, which had no lawful basis, was issued after terrorist TdA aliens had already been

removed from U.S. territory. The written order and the Administration's actions do not conflict.

Moreover, as the Supreme Court has repeatedly made clear — federal courts generally have no

jurisdiction over the President's conduct of foreign affairs, his authorities under the Alien

Enemies Act, and his core Article II powers to remove foreign alien terrorists from U.S. soil and



4
 Two more flights, GlobalX Flight 6144 and GlobalX Flight 6123, departed Comayagua,
Honduras and landed in San Salvador, El Salvador well after the Court’s orders. On information
and belief, these may have been continuations of either Flight 6143 or 6122. The government
should provide information on these flights.
5
    https://www.axios.com/2025/03/16/trump-white-house-defy-judge-deport-venezuelans.
        Case 1:25-cv-00766-JEB           Document 21        Filed 03/17/25       Page 5 of 7




repel a declared invasion. A single judge in a single city cannot direct the movements of an

aircraft carrier full of foreign alien terrorists who were physically expelled from U.S. soil.” See

also “Trump administration ignores judge's order to turn deportation planes around: Sources,”

Katherine Faulders, ABC News, https://abcnews.go.com/US/trump-admin-ignores-judges-order-

bring-deportation-planes/story?id=119857181; Marianne LeVine, et al., “White House Official

Says 137 Immigrants Deported Under Alien Enemies Act,” Wash. Post (Mar. 16, 2024),

https://www.washingtonpost.com/immigration/2025/03/16/alien-enemies-act-venezuela-el-

salvador-prison/ (interviewing a White House official: “‘We believe this is a baseless legal ruling

no matter when the flights took off,’ the official said, adding that the fact that two of the three

deportation flights were out of the country before the judge’s order ‘strengthens our case.’”);

Mattathias Schwartz, “With Deportations, Trump Steps Closer to Showdown with Judicial

Branch,” N.Y. Times (Mar. 16, 2025), http://nytimes.com/2025/03/16/us/constitutional-

crisis.html.

        Finally, some of the public comments made by Defendants and the President of El

Salvador reinforce Plaintiffs’ concerns. For example, on March 16, at 7:46 a.m. EDT, El

Salvador President Nayib Bukele tweeted a New York Post headline reading, “Fed judge orders

deportation flights carrying alleged Venezuelan gangbangers to return to US, blocks Trump from

invoking Alien Enemies Act,” and added the comment “Oopsie … Too late              .” Secretary of

State Marco Rubio re-tweeted this post from his personal X account.

        In sum, given the careful phrasing of the government’s letter, the publicly available data,

the government’s own statements, and the numerous media reports that the government may

have chosen not to abide by the Court’s Order, Plaintiffs request that the Court immediately
       Case 1:25-cv-00766-JEB          Document 21        Filed 03/17/25      Page 6 of 7




direct the government to submit one or more sworn declarations from individuals with direct

knowledge of the facts clarifying the following:

   1) whether any flight with individuals subject to the Proclamation took off after either the

       Court’s written or oral Orders were issued;

   2) whether any flight with individuals subject to the Proclamation landed after either the

       Court’s written or oral Orders were issued;

   3) whether any flight with individuals subject to the Proclamation was still in the air after

       either the Court’s written or oral Orders were issued; and

   4) whether custody of any individuals subject to the Proclamation was transferred to a

       foreign country after either the Court’s written or oral Orders were issued.
      Case 1:25-cv-00766-JEB       Document 21    Filed 03/17/25      Page 7 of 7




Dated: March 17, 2025                     Respectfully submitted,

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